Case:18-10965-TBM Doc#:51 Filed:03/19/18          Entered:03/19/18 14:27:16 Page1 of 2



                       UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF COLORADO

In re:                                   )
                                         )
11380 SMITH RD LLC                       )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                           )      Chapter 11
                                         )
Debtor.                                  )
                                         )
                                         )
11380 SMITH RD LLC                       )
Movant,                                  )
                                         )
v.                                       )
                                         )
Owners Insurance Company and             )
355 Moline, LLC                          )
Respondents.                             )


MOVANT’S CERTIFICATE OF NON-CONTESTED MATTER WITH RESPECT TO THE
DEBTOR’S MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND REQUEST FOR
ENTRY OF ORDER


       On February 23, 2018, Debtor-in-Possession, 11380 Smith Rd LLC (“Movant”), filed
a motion or application pursuant to L.B.R. 9013-1 entitled: Debtor’s Motion for Relief from
the Automatic Stay. Movant hereby certifies that the following is true and correct:

       1.     Service of the motion/application, notice and proposed order were timely
made on all parties against whom relief is sought and those otherwise entitled to service
pursuant to the FED.R.BANKR.P. and the L.B.R. as is shown on the certificate of service,
L.B. Form 9013-1.2, previously filed with the motion/application on February 23, 2018.

       2.     Mailing or other service of the notice was timely made on all other creditors
and parties in interest pursuant to L.B.R. 9013-1 and 2002-1 (or in the manner permitted
by an order of the court, a copy of which is attached), as is shown on the certificate of
service, L.B. Form 9013-1.2, previously filed with the notice on February 23, 2018.

         3.   The docket numbers for each of the following relevant documents are:
              a.    the motion and all documents attached thereto and served therewith,
                    (Docket No. 28);
              b.    the certificate of service of the motion and all documents attached
                    thereto and served therewith, notice and proposed order, (Docket No.
                    28);
Case:18-10965-TBM Doc#:51 Filed:03/19/18          Entered:03/19/18 14:27:16 Page2 of 2



             c.     the notice, (Docket No. 28);
             d.     the certificate of service of the notice, (Docket No. 28);
             e.     the proposed order, (Docket No. 28); and

       4.     No objections were filed, therefore, Debtor requests that the Court enter the
order granting the requested relief.

      WHEREFORE, Movant prays that the court forthwith enter an order attached to
Debtor’s Motion at Docket No. 28, granting the requested relief.

DATED: March 19, 2018

                                         Respectfully Submitted,

                                         WEINMAN & ASSOCIATES, P.C.



                                         By: /s/ Jeffrey A. Weinman
                                                 Jeffrey A. Weinman, #7605
                                                 730 17th Street, Suite 240
                                                 Denver, CO 80202-3506
                                                 Telephone: (303) 572-1010
                                                 Facsimile: (303) 572-1011
                                                 jweinman@weinmanpc.com




                                            2
